                                                      PROPRIETARY INFORMATION

                          RayBiotech Life, Inc                                              Form: FO-TF-028

                                                       Service Reports; Revision 1.0

                                                                                                                                    FILED
                                            Raybiotech Life, Inc.                                                           Jan 11, 2025, 7:14 PM
                                                  3607 Parkway Ln, Suite 200                                                 in the Clerk's Office
                                                 Peachtree Corners, GA 30092                                                  U.S. District Court,
                                                               770-729-2992
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                                                                                                                               Pro Se Office via
                                                             1-888-494-8555
                                                                                                                                   Box.com
                                                          Fax: 770-206-2393
                                                  Email: info@raybiotech.com


Customer Contact Name:                                                                         Andrew Sinclair

Customer Institution:                                                                                B4B

Contact Phone Number:                                                                                 N/A

Customer Email Address:                                                                                                              4500828256

Purchase Order Number                                                                         CC 3576 / PHONE

Sales Order Number                                                                                 S085085

Protocol Number                                                                     11182024 TISD QAH-INF-1 SA8 S085085

Study Director assigned:                                                                        Gracie Armour


Service Provided

Type of Service Provided:                                                                        Full Testing

Sample Type and Preparation:                                                                         Drink

Test procedure:                                                                        SOP-TF-QAH-001, SOP-TF-QAH-003

Stability of sample and Standards or Positive Controls                                    Stable to conditions of test

Protocol sign off Date:                                                                            11/26/24

Final Report completed date:                                                                       11/26/24

Storage of Records and samples                                                         According to in house procedures




Sign off:


Study Director:    Gracie Armour                       Date:                                       11/26/24

Laboratory Manager: Mike Mao                           Date:                                       11/26/24




                           EXHIBIT-ELISA-IMMUNE-RAW-DATA                       Case No.: 22-CV-1159          JAN 11, 2025
               Sample #   Sample ID   Sample Type        Sample Condi ons           Dilu on
                  1        BETISD 1      Drink            4°C; Unfiltered 1            2x
                  2        BETISD 2      Drink            4°C; Unfiltered 2            2x
                  3        BETISD 3      Drink             4°C; Filtered 1             2x
                  4        BETISD 4      Drink             4°C; Filtered 2             2x
                  5        BETISD 5      Drink      Room Temperature; Un ltered 1      2x
                  6        BETISD 6      Drink      Room Temperature; Un ltered 2      2x
                  7        BETISD 7      Drink       Room Temperature; Filtered 1      2x
                  8        BETISD 8      Drink       Room Temperature; Filtered 2      2x




                             EXHIBIT-ELISA-IMMUNE-RAW-DATA           Case No.: 22-CV-1159     JAN 11, 2025
ti
     ti
          fi
          fi
             Raw_Data          0         1        4       12       37        111        333     1,000    BETISD 1   BETISD 2   BETISD 3   BETISD 4   BETISD 5   BETISD 6   BETISD 7   BETISD 8
               POS1         74,828    62,868   84,967   75,940   89,366     68,511    82,418    74,411    69,934     55,989     72,534     71,235     70,587     62,913     71,311     56,733
               POS1         80,331    65,169   86,289   78,817   83,929    67,972     77,550   73,552     64,921     51,763     72,319     71,343     68,049     67,232     74,812     60,729
               POS1         87,367    75,037   88,517   78,486   84,263    70,088     77,282   72,290     64,463     50,384     73,325     71,177     71,450     67,529     71,592     69,052
               POS1         91,891    69,124   94,574   80,003   87,702    72,533     79,984   71,442     67,111     52,321     70,648     78,780     71,056     67,819     88,102     70,194
               POS2         32,635    25,610   32,925   29,199   32,272    29,109     37,836   26,792     24,289     21,393     26,317     28,846     26,529     26,570     30,890     24,944
               POS2         31,097    28,537   33,470   30,023   33,194    28,723     37,708   27,035     24,638     20,391     26,954     23,397     27,666     25,093     31,032     24,605
               POS2         32,189    31,249   33,699   27,919   32,663    29,721     29,853   25,135     26,578     20,753     28,252     24,646     28,673     25,422     31,131     23,592
               POS2         33,616    33,329   32,469   29,398   35,032    27,726     31,543   22,557     26,160     15,762     29,888     26,023     27,836     24,209     31,028     22,328
               IL-1a          557       613      824    1,038     1,467     3,941      9,536   26,536       632        877       567         927        554       796         712        647
               IL-1a          493       601      826    1,129     1,619     3,358     10,563   24,594       478        760       528         875        640       837         617        858
               IL-1a          557       652      821      951     1,798     3,431     10,753   24,793       698        744       546         751        515       755         664        582
               IL-1a          493       675      843    1,059     1,924     3,633     12,233   21,550       801        648       557         762        621       885         802        681
               IL-1b          291       474      786      815     2,041     3,510      8,125   10,842       611        505       558         585        594       334         586        579
               IL-1b          359       406      584      914     2,141     3,986      7,690    9,233       562        611       567         600        482       438         696        556
               IL-1b          539       569      562      931     1,582     4,411      8,774   10,219       575        486       525         620        475       357         562        632
               IL-1b          491       587      711      941     1,718     4,455      8,579   10,633       395        538       540         538        347       520         607        592
                IL-4         1,111    1,901     2,285   4,509     7,917    14,064     23,565   24,515       857        964       953       1,136        778      1,208        842       1,027
                IL-4        1,006     1,920     2,192   6,560    11,447    15,376     21,606   26,201     1,140        811      1,041      1,194        709       872       1,098        989
                IL-4          896     1,963     3,095   5,378    11,493    14,152     19,178   19,651     1,168        813      1,150      1,003      1,058       944         882        864
                IL-4        1,017     2,013     3,352   7,129    10,811    14,632     22,207   17,973     1,053        839      1,408      1,056      1,059       977       1,246        931
                IL-6        1,499     1,392     1,707   1,479     3,945     6,969     20,228   51,553     1,528      1,179      1,583      1,515      1,468      1,431      1,465       1,309
                IL-6        1,457     1,331     1,745   1,791     3,613     6,852     22,473   50,542     1,453      1,440      1,559      1,539      1,409      1,488      1,483       1,557
                IL-6        1,238     1,332     1,896   2,057     3,673     7,562     20,051   53,027     1,481      1,562      1,458      1,569      1,444      1,380      1,476       1,675
                IL-6        1,348     1,315     1,378   2,194     3,493     7,436     20,752   47,702     1,690      1,622      1,428      1,688      1,527      1,378      1,649       1,553
                IL-8        1,529     1,168     1,211   1,836     2,060     4,527     11,683   24,993     1,402      1,226      1,213      1,554      1,445      1,428      1,231       1,469
                IL-8        1,201     1,228     1,505   1,897     2,535     4,726     12,804   25,627     1,521      1,316      1,704       1,611     1,414      1,677      1,301       1,503
                IL-8        1,191     1,208     1,571    1,811    2,649     5,667     13,821   24,467     1,474      1,263      1,666      1,280      1,475      1,340      1,260       1,580
                IL-8        1,389     1,128     1,537   1,929     2,840     5,959     12,649   34,061     1,508       1,117     1,457      1,447      1,478      1,505      1,453       1,267
               IL-10          787     4,589    12,337   24,783   56,987    158,161   345,904   374,438      699        555       814         698        561       766         735        895
               IL-10          810     4,619    11,442   23,595   52,958    155,940   335,888   418,280      758        665       779         727        569       800         845        885
               IL-10          863     4,867    11,372   21,482   51,580    159,935   402,623   423,536      711        817       763         728        691       679         820        986
               IL-10          985     4,470    13,443   22,173   56,757    151,089   465,260   420,908      757        751       658         839        657       534         844        945
               IL-13        1,310     2,885     5,805   13,365   33,741    71,829    127,767   132,289    1,566      1,561      1,017      1,431        876      1,505      1,215       1,467
               IL-13        1,325     3,293     6,291   12,177   35,048    71,257    113,151   126,336    1,552      1,265      1,393      1,413      1,425      1,408      1,363       1,184
               IL-13        1,045     3,177     6,789   15,551   34,706    49,214     97,178   96,802     1,447      1,413      1,531      1,145      1,301      1,602      1,216       1,241
               IL-13        1,154     4,024     5,418   12,019   29,534    51,299     88,294   123,079    1,667      1,154      1,663      1,439      1,234      1,349      1,495       1,244
              MCP-1         1,376     1,326     1,267   1,995     4,773    13,331     27,037   48,548     1,376      1,236      1,473      1,136      1,223      1,304      1,296       1,295
              MCP-1         1,315      1,118    1,422   2,415     5,767    13,298     30,701   46,015     1,357      1,226      1,295      1,383      1,128      1,265      1,108       1,246
              MCP-1         1,024     1,375     1,715   3,025     5,480    13,775     33,374   46,153     1,600      1,461      1,281      1,165      1,530      1,521      1,464       1,543
              MCP-1         1,398     1,379     1,895   2,195     6,055    13,948     33,189   51,339      1,711     1,456      1,229      1,444      1,347      1,015      1,729       1,649
               IFNg           871     1,717     2,706   3,547    12,324    31,571     87,167    69,117    1,321        980       857         844        699      1,029      1,002       1,219
               IFNg           721     1,415     2,981   2,720    11,742    27,642     82,244   111,722    1,102        924      1,156        963      1,063       945        1,116      1,135
               IFNg         1,178     1,882     3,106   3,236    11,543    22,199     76,478   98,241     1,120        809      1,152      1,039        990      1,055      1,014       1,050
               IFNg          1,115    2,093     2,344   3,095    10,679    20,747     79,361   121,005    1,215        836      1,149        886        898      1,042        993       1,089
               TNFa           930     1,068     1,140   1,132     1,347     2,783      5,710   14,962     1,047      1,127      1,029      1,074        893       971         940       1,164
               TNFa         1,046       952     1,191   1,122     1,493     2,898      5,842   13,583       951      1,019       963         929        905       994       1,295       1,062
               TNFa           920       942     1,213   1,305     1,641     1,981      5,755   14,082       970      1,037      1,013      1,196        960      1,188      1,427       1,128
               TNFa           988     1,034     1,375   1,604     1,567     1,797      6,529   15,241     1,008      1,357       995       1,034       1,116     1,165      1,389       1,250




              Average         0         1        4        12       37        111       333      1,000    BETISD 1   BETISD 2   BETISD 3   BETISD 4   BETISD 5   BETISD 6   BETISD 7   BETISD 8
               POS1         83,604    68,050   88,587   78,312   86,315    69,776    79,308     72,924    66,607     52,614     72,206     73,134     70,286     66,373     76,454     64,177
               POS2         32,384    29,681   33,141   29,135   33,290    28,820    34,235     25,380    25,416     19,575     27,853     25,728     27,676     25,324     31,020     23,867
               IL-1a         525       635      828     1,044     1,702     3,591    10,771     24,368      652       757        549        829        582        818         699        692
               IL-1b         420       509      661      900      1,871     4,090     8,292     10,232      536       535        548        586        474        412         613        590
                 IL-4       1,007     1,949    2,731    5,894    10,417    14,556    21,639     22,085    1,054       857       1,138      1,097       901       1,000      1,017        953
                 IL-6       1,385     1,343    1,681    1,880     3,681     7,204    20,876     50,706    1,538      1,451      1,507      1,578      1,462      1,419      1,518       1,523
                 IL-8       1,327     1,183    1,456    1,868     2,521     5,220    12,739     27,287    1,476      1,230      1,510      1,473      1,453      1,488       1,311      1,455
               IL-10         861      4,636    12,148   23,008   54,571    156,281   387,418   409,290      731       697        753        748        620        695         811        928
               IL-13        1,208     3,344    6,076    13,278   33,257    60,900    106,598   119,627    1,558      1,348      1,401      1,357      1,209      1,466      1,322       1,284
               MCP-1        1,278     1,300    1,575    2,407     5,519    13,588    31,075     48,014     1,511     1,345      1,320      1,282      1,307      1,276      1,399       1,433
                IFNg         971      1,777    2,784    3,149    11,572    25,540    81,312    100,021    1,189       887       1,079       933        912       1,018      1,031       1,124
               TNFa          971       999     1,230    1,291     1,512     2,365     5,959     14,467      994      1,135      1,000      1,058       968       1,079      1,263       1,151
              POS-Ave       83,604    72,338   87,072   76,763   86,129    72,089    83,845     69,222    66,111     51,575     72,056     69,777     70,868     65,875     78,268     62,897




            Normalization     0         1         4       12       37        111        333      1,000   BETISD 1   BETISD 2   BETISD 3   BETISD 4   BETISD 5   BETISD 6   BETISD 7   BETISD 8
               POS1         78,883    74,207   80,255   80,474   79,053    76,352    74,615     83,101    79,474     80,473     79,047     82,678     78,235     79,479     77,054     80,488
               POS2         30,555    32,367   30,024   29,939   30,490    31,536    32,209     28,922    30,326     29,939     30,492     29,085     30,806     30,324     31,264     29,933
1: Linear      IL-1a         495       693       751    1,073    1,559      3,929    10,134     27,769     789       1,175        610       950        657         994       714         880
 4: 4-PL       IL-1b         396       555       599     925     1,713      4,476      7,801    11,660     648        830         608       672        536         501       626         750
1: Linear        IL-4        951      2,125     2,474   6,057    9,540     15,928    20,358     25,167    1,276      1,329      1,264      1,258      1,017      1,215      1,040       1,212
1: Linear        IL-6       1,307     1,464     1,523   1,932    3,371      7,883    19,640     57,783    1,861      2,250      1,673      1,809      1,650      1,724      1,552       1,938
1: Linear        IL-8       1,252     1,290     1,319   1,920    2,309      5,712     11,985    31,095    1,786      1,908      1,677      1,689      1,640      1,807      1,340       1,850
1: Linear      IL-10         813      5,056    11,006   23,644   49,979    171,010   364,489   466,409     885       1,081        836       858        699         844       829        1,180
 4: 4-PL       IL-13        1,140     3,647     5,504   13,644   30,459    66,639    100,289   136,321    1,885      2,091      1,555      1,556      1,365      1,781      1,351       1,633
 4: 4-PL       MCP-1        1,206     1,417     1,426   2,474    5,054     14,869    29,236     54,714    1,828      2,086      1,465      1,470      1,475      1,550      1,430       1,823
1: Linear       IFNg         916      1,937     2,522   3,236    10,598    27,947    76,500    113,980    1,439      1,376      1,198      1,070      1,030      1,236      1,054       1,429
1: Linear      TNFa          916      1,089     1,114   1,326    1,385      2,588      5,606    16,486    1,203      1,760       1,110     1,213      1,093       1,311     1,291       1,464
             POS-Ave        78,883    78,883   78,883   78,883   78,883    78,883    78,883     78,883    78,883     78,883     78,883     78,883     78,883     78,883     78,883     78,883




                                     EXHIBIT-ELISA-IMMUNE-RAW-DATA        Case No.: 22-CV-1159     JAN 11, 2025
                                                                                                                                                                                                                                                                                                                                                                                                            Choose the regression model

                                                                                                                                                                                                                                                                                                                                                                                                             Std3 Log-log Curve Result
                                                                                                                                                                                                                                                                                                                                                                                                             Std Normalization Result
                                                                                                                                                                                                                                                                                                                                                                                                             Fixed Curve Result                     Log-log curve                                                         Linear Curve
                                                                                                                                                                                                                                                                                                                                                                                                             Linear Curve Result
                                                                                                                                                                                                                                                                                                                                                                                                                      Cytokine     LOD     Pts   Highest     Range       Max     Correlation   Cytokine   LOD    Pts   Highest    Range      Max     RSQ    L-RSQ
Standard Cytokine                                 3         4          5        6        7                                                           Linear Regression Curve                                                                               Log-log Regression Curve                                                                          4-PL Regression Curve                                      IL-1a      5.89    7     2000.00   17.7 - 2000   2000       0.97        IL-1a     4.00   7     2,000     12 - 2000   2000    1.00   1.00
Data                                                                                                                                                                                                                                                                                                                                                                                                                    IL-1b      4.53    7     2000.00   13.6 - 2000   2000       0.98        IL-1b     3.24   5      222      9.7 - 222   1111    1.00   1.00
                IL-1a            1.75    2.21    2.66      3.12       3.58     4.03     4.49                                                                                                                                                                                                                                                                                                                            IL-4       2.00    6      666.67     6 - 666     2000       0.96         IL-4     0.69   3       25       2.1 - 24    123    0.98   0.98
                                                                                                                                                                         IL-1a                                                                                                        IL-1a                                                                                 IL-1a                                       IL-6       6.78    7     2000.00   20.3 - 2000   2000       0.99         IL-6     4.00   7     2,000     12 - 2000   2000    1.00   1.00      1.63290680831192
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Concentration (pg/ml)     0       3       8       25        74        222      667     2000
                                                                                                                                 30,000                                                                                                        5                                                                                               30000
Signal-BKG                0      197     255     578      1063       3434     9638     27273                                                                                                                                                                                                                                                                                                                            IL-8       2.23    7      400.00    6.7 - 400     400       0.98         IL-8     0.80   7      400      2.4 - 400    400    1.00   1.00    IL-1a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       170.217016874347
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 204.478783411556
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           290.442386033654
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             319.308031186869
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     27272.0558516626




                                                                                                                                                                                                                      Log(Signal-BKG)
                                                                                                     y = 13.603x
                                                                                                            22,500+ 206.13
                                                                                                                                                                                                                                         3.75                                                                                                  22500




                                                                                                                                                                                                                                                                                                                               Signal - BKG
                                                                                                                   Signal-BKG
Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30              R² = 0.9996                                                                                                                                                                                                                                                                                                   IL-10      1.23    7     2000.00   3.7 - 2000    2000       0.99        IL-10     0.16   5      222      0.5 - 222   1111    1.00   1.00
                                                                                                                                 15,000                                                                                                   2.5                                                                                                  15000
Log (Signal-BKG)                 2.30    2.41    2.76      3.03       3.54     3.98     4.44                                                                                                                                                                                                                                                                                                                            IL-13      1.67    6      666.67     5 - 666     2000       0.99        IL-13     0.56   5      222      1.7 - 222   1111    0.99   0.99

                        Slope                            Intercept              N       R2                                        7,500                                                                                                  1.25                                                                                                   7500                                                                   MCP-1       4.21    7     2000.00   12.6 - 2000   2000       0.97       MCP-1      3.00   5      222       9 - 222    1111    1.00   1.00

Linear regression       13.74                              0.00                 7       1.00                                             0                                                                                                     0                                                                                                  0                                                                     IFNg       17.47   7     10000.00 52.4 - 10000   10000      0.97        IFNg      6.01   6     3,333     18 - 3333   10000   1.00   1.00
                                                                                                                                                 0        500            1,000           1,500   2,000                                                 0              1                 2              3          4                                    1        10           100             1000   10000
log-log regression       0.77                              1.76                 7       0.97                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)                             TNFa        7.01    7     2000.00    21 - 2000    2000       0.93        TNFa      4.00   7     2,000     12 - 2000   2000    1.00   1.00
                        0.96     0.96    1.29    0.99     1.33        0.07     0.86     1.55                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00

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                IL-1b            1.69    2.13    2.58      3.02       3.47     3.91     4.36                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                                                        IL-1b                                                                                                         IL-1b                                                                                 IL-1b
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                                                                                                                                                                                                                                                                                                                             0.00                                                                    0.00                                                                  1.63290680831192
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                                                                                                                                 5,000                                                                                                     5                                                                                                   12000
Signal-BKG                0      159     202     529      1317       4080     7405     11264          y = 18.057x + 48.826                                                                                                                                                                                                                                                                                              0.00                                                                    0.00                                                                IL-1b
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       42.9017715166356
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                                                                                                                                                                                                              Log(Signal-BKG)
                                                                                                           R²3,750
                                                                                                               = 0.999                                                                                                                  3.75                                                                                                    9000




                                                                                                                                                                                                                                                                                                                               Signal - BKG
                                                                                                                  Signal-BKG
Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                 2,500                                                                                                   2.5                                                                                                    6000
Log (Signal-BKG)                 2.20    2.31    2.72      3.12       3.61     3.87     4.05                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                 1,250                                                                                                  1.25                                                                                                    3000                                                                    0.00                                                                    0.00
                        Slope                            Intercept              N       R2
Linear regression       18.35                              0.00                 5       1.00                                        0                                                                                                      0                                                                                                      0                                                                     0.00                                                                    0.00
                                                                                                                                             0            75              150             225     300                                              0              1                     2              3              4                                1        10           100             1000   10000
log-log regression       0.72                              1.79                 7       0.98                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)                              0.00                                                                    0.00
                        0.93     0.93    1.42    0.98     1.28        0.04     0.76     1.68                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00

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                 IL-4            2.60    3.02    3.44      3.86       4.28     4.70     5.12                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                                                         IL-4                                                                                                         IL-4                                                                                  IL-4
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                                                                                                                                                                                                                                                                                                                             0.00                                                                    0.00                                                                  1.63290680831192
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1.9594881699743
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                                                                                                                                 6,000                                                                                                     6                                                                                                  30000
Signal-BKG                0      1175    1523    5106     8590       14977    19408    24216          y = 196.92x + 195.38                                                                                                                                                                                                                                                                                              0.00                                                                    0.00                                                                IL-4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       437.818062190021
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         554.650887285388
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 16394.8175067741
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     18229.3557834495
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       19103.1363262202
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         19940.3620174338
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           20736.6318889411
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             21488.6229227387
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               22194.078341977
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 22851.7507774743
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   23461.3106172626
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     24023.2306596967




                                                                                                                                                                                                                     Log(Signal-BKG)
                                                                                                           R²4,500
                                                                                                              = 0.9781                                                                                                                   4.5                                                                                                  22500




                                                                                                                                                                                                                                                                                                                               Signal - BKG
                                                                                                                  Signal-BKG
Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                 3,000                                                                                                     3                                                                                                  15000
Log (Signal-BKG)                 3.07    3.18    3.71      3.93       4.18     4.29     4.38                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                 1,500                                                                                                   1.5                                                                                                   7500
                        Slope                            Intercept              N       R2                                                                                                                                                                                                                                                                                                                              0.00                                                                    0.00

Linear regression       207.10   0.67                      0.00                 3       0.98                                        0                                                                                                      0                                                                                                      0                                                                     0.00                                                                    0.00
                                                                                                                                             0            7.5             15             22.5    30                                                0              1                    2               3          4                                    1        10           100             1000   10000
log-log regression       0.56                              2.82                 6       0.96                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)                              0.00                                                                    0.00
                        0.88     0.88    2.11    0.93     2.21        0.01     0.56     2.81                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00

                                                                                                                                                                                                                                                                                                                                                                                                                        0.00                                                                    0.00

                                                                                                                                                                                                                                                                                                                                                                                                                        0.00                                                                    0.00

                                                                                                                                                                                                                                                                                                                                                                                                                        0.00                                                                    0.00
                 IL-6            1.65    2.19    2.73      3.26       3.80     4.34     4.88                                                                                                                                                                                                                                                                                                                            0.00                                                                    0.00
                                                                                                                                                                         IL-6                                                                                                         IL-6                                                                                  IL-6
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                                                                                                                                                                                                                                                                                                                             0.00                                                                    0.00                                                                  1.63290680831192
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1.9594881699743
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          2.35138580396916
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2.82166296476299
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3.38599555771559
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                4.06319466925871
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  4.87583360311045
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    5.85100032373254
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      7.02120038847905
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        8.42544046617486
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          10.1105285594098
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            12.1326342712918
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              14.5591611255502
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                17.4709933506602
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  20.9651920207922
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    25.1582304249507
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      30.1898765099408
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        36.227851811929
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          43.4734221743147
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            52.1681066091777
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              62.6017279310132
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                75.1220735172159
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  90.1464882206591
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    108.175785864791
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      129.810943037749
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        155.773131645299
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          186.927757974359
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            224.31330956923
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              269.175971483076
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                323.011165779692
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  387.61339893563
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    465.136078722756
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      558.163294467307
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1666.66666666667
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2000
                                                                                                                         60,000                                                                                                           5                                                                                                    60000
Signal-BKG                0      157     216     625      2065       6577     18334    56476               45,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    IL-6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       126.175247192383
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         134.637115478516
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           144.817153930664
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             157.064239501953
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               171.798080444336
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 189.523590087891
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   210.848266601563
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     236.502868652344
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       267.366607666016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         304.497192382813
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     751.482849121094
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       886.912551879883
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1049.84107971191
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           5180.49447631836
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             6215.22877502441
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 8957.66218566895
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   46925.5659942627
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     56436.5727081299




                                                                                                                                                                                                         Log(Singal-BKG)
                                                                                                  y = 28.185x  - 8.2756                                                                                                         3.75                                                                                                           45000
                                                                                                     Singal-BKG




                                                                                                                                                                                                                                                                                                                               Signal - BKG
Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30           R² = 0.9999
                                                                                                           30,000
                                                                                                                                                                                                                                        2.5                                                                                                    30000
Log (Signal-BKG)                 2.20    2.34    2.80      3.31       3.82     4.26     4.75                             15,000
                                                                                                                                                                                                                                1.25                                                                                                           15000
                        Slope                            Intercept              N       R2                                          0

Linear regression       28.18                              0.00                 7       1.00                           -15,000                                                                                                            0                                                                                                       0
                                                                                                                                             0           500             1,000           1,500   2,000                                             0              1                     2              3              4                                1        10           100             1000   10000
log-log regression       0.94                              1.60                 7       0.99                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)

                        1.13     1.13    1.17    1.00     1.16        0.06     1.02     1.40




                 IL-8            1.74    2.20    2.65      3.10       3.56     4.01     4.46
                                                                                                                                                                          IL-8                                                                                                         IL-8                                                                                 IL-8
Concentration (pg/ml)     0       1       2       5         15        44       133      400                                                                                                                                                                                                                                                                                                                                                                                                                                                                           0.326581361662384
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        0.39189763399486
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          0.470277160793832
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            0.564332592952599
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              0.677199111543119
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                0.812638933851742
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  0.975166720622091
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1.17020006474651
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1.40424007769581
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1.68508809323497
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          2.02210571188197
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2.42652685425836
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              2.91183222511003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                3.49419867013204
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  4.19303840415845
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    5.03164608499014
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        7.24557036238579
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          8.69468443486295
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            10.4336213218355
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              12.5203455862027
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                15.0244147034432
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  18.0292976441318
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    21.6351571729582
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      25.9621886075498
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        31.1546263290598
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          37.3855515948717
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            44.8626619138461
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              53.8351942966153
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                64.6022331559383
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  77.522679787126
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    93.0272157445512
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      111.632658893461
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        133.959190672154
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          160.751028806584
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            192.901234567901
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              231.481481481482
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                277.777777777778
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  333.333333333333
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    400
                                                                                                                          y =40,000
                                                                                                                              74.587x + 266.47                                                                                                 5                                                                                               30000
Signal-BKG                0       38      67     667      1057       4459     10733    29843                                   R² = 0.9981                                                                                                                                                                                                                                                                                                                                                                                                                          IL-8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       -4.95032501220703
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         3.42251205444336
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           13.3053588867188
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             24.970531463623
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               38.7394714355469
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 54.9915733337402
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   74.1746711730957
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     96.8173599243164
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       123.543556213379
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         155.089702606201
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           192.325057983398
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             236.275650024414
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               288.152534484863
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 349.385189056396
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   421.66088104248
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     506.971176147461
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       607.666809082031
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         726.522453308105
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           866.813194274902
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1032.40474700928
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1730.87608337402
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2431.6859664917
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 5637.59237670898
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   25248.3494911194
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     29811.0366210938
                                                                                                                                                                                                                     Log(Signal-BKG)



                                                                                                                             30,000                                                                                                                                                                                                            22500
                                                                                                                                                                                                                                         3.75
                                                                                                                  Signal-BKG




                                                                                                                                                                                                                                                                                                                               Signal - BKG
Log (Concentration)              -0.26   0.22    0.69      1.17       1.65     2.12     2.60                                                                                                                                                                                                                                                   15000
                                                                                                                                 20,000                                                                                                   2.5
Log (Signal-BKG)                 1.58    1.82    2.82      3.02       3.65     4.03     4.47                                                                                                                                                                                                                                                    7500
                                                                                                                                 10,000                                                                                                  1.25
                        Slope                            Intercept              N       R2                                                                                                                                                                                                                                                        0

Linear regression       75.47                              0.00                 7       1.00                                             0                                                                                                     0                                                                                               -7500
                                                                                                                                                 0        100             200             300     400                                              -0.75      0                0.75           1.5          2.25   3                                    0.1      1             10             100    1000
log-log regression       1.04                              1.84                 7       0.98                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)

                        0.95     0.95    2.09    0.97     1.99        0.00     1.05     1.83




                IL-10            3.37    3.80    4.23      4.67       5.10     5.53     5.96
                                                                                                                                                                        IL-10                                                                                                         IL-10                                                                                 IL-10
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                             180,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1.63290680831192
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1.9594881699743
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                                                                                                                                                                                                                                           6                                                                                                  500000
Signal-BKG                0      4243    10193   22831    49167      170198   363677   465596      y = 750.89x + 1227.4                                                                                                                                                                                                                                                                                                                                                                                                                                             IL-10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       8575.92256411002
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                                                                                                                                                                                                                      Log(Signal-BKG)




                                                                                                           135,000                                                                                                                       4.5                                                                                                  375000
                                                                                                        R² = 0.9961
                                                                                                      Signal-BKG




                                                                                                                                                                                                                                                                                                                          Signal - BKG
Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30
                                                                                                                                90,000                                                                                                     3                                                                                                  250000
Log (Signal-BKG)                 3.63    4.01    4.36      4.69       5.23     5.56     5.67
                                                                                                                                45,000                                                                                                   1.5                                                                                                  125000
                        Slope                            Intercept              N       R2
                                                                                                                                     0                                                                                                     0                                                                                                      0
Linear regression       758.23                             0.00                 5       1.00                                                 0            75              150            225     300                                               0              1                     2              3          4                                    1        10           100             1000   10000
log-log regression       0.76                              3.32                 7       0.99                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)

                        0.90     0.90    3.11    0.98     2.98        0.01     0.75     3.35




                IL-13            3.00    3.47    3.94      4.41       4.87     5.34     5.81
                                                                                                                                                                        IL-13                                                                                                         IL-13                                                                                 IL-13
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                                    70,000                                                                                                     6                                                                                                   140000
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Signal-BKG                0      2507    4364    12504    29319      65499    99149    135181                                                                                                                                                                                                                                                                                                                                                                                                                                                                       IL-13
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                                                                                                                                                                                                                    Log(Signal-BKG)




                                                                                                           52,500+ 3022.9
                                                                                                     y = 289.36x                                                                                                                         4.5                                                                                                  105000
                                                                                                          Signal-BKG




                                                                                                                                                                                                                                                                                                                          Signal - BKG




Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30              R² = 0.986
                                                                                                                               35,000                                                                                                     3                                                                                                    70000
Log (Signal-BKG)                 3.40    3.64    4.10      4.47       4.82     5.00     5.13
                                                                                                                               17,500                                                                                                    1.5                                                                                                   35000
                        Slope                            Intercept              N       R2
                                                                                                                                    0                                                                                                     0                                                                                                       0
Linear regression       307.42                             0.00                 5       0.99                                                 0            75              150            225      300                                              0              1                     2              3          4                                    1        10           100             1000   10000
log-log regression       0.71                              3.08                 6       0.99                                                                     Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)

                        0.98     0.98    2.51    0.98     2.57        0.01     0.72     3.06




               MCP-1             2.00    2.49    2.98      3.48       3.97     4.46     4.95                                                                                                                                                                                       MCP-1
                                                                                                                                                                       MCP-1                                                              5                                                                                                                               MCP-1
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                                    14,000                                                                                                                                                                                                          60000
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                                                                                                                                                                                                             Log(Signal-BKG)




Signal-BKG                0      211     221     1268     3849       13663    28030    53508                                                                                                                                            3.75                                                                                                                                                                                                                                                                                                                        MCP-1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -396.645538915589
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1930.90750746908
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2357.4356946304
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3430.38887000865
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             4099.36884901019
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4874.0004998519
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 5769.03834969505
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   6800.62641781088
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         10893.976043849
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               16884.9063154429
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 19386.9340642288
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   53436.157698978
                                                                                                            10,500                                                                                                                                                                                                                             45000
                                                                                                  y = 61.634x - 208.1
                                                                                                                                                                                                                                                                                                                            Signal - BKG
                                                                                                          Signal-BKG




Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30          R² = 0.9972
                                                                                                             7,000                                                                                                                       2.5                                                                                                   30000

Log (Signal-BKG)                 2.33    2.34    3.10      3.59       4.14     4.45     4.73                                    3,500
                                                                                                                                                                                                                                                                                                                                               15000
                                                                                                                                                                                                                                        1.25
                        Slope                            Intercept              N       R2                                                                                                                                                                                                                                                        0
                                                                                                                                    0
                                                                                                                                                                                                                                          0                                                                                                   -15000
Linear regression       60.39                              0.00                 5       1.00                                                                                                                                                       0              1                     2              3          4
                                                                                                                                -3,500                                                                                                                                                                                                                 1        10           100             1000   10000
                                                                                                                                             0            75              150            225     300                                                                      Log(Concentration) (pg/ml)
log-log regression       0.93                              1.78                 7       0.97                                                                                                                                                                                                                                                                         Concentration (pg/ml)
                                                                                                                                                                 Concentration (pg/ml)
                        1.03     1.03    1.71    0.97     1.55        0.04     0.99     1.64




                IFNg             2.55    3.00    3.46      3.91       4.37     4.82     5.28                                                                            IFNg                                                                                                          IFNg
                                                                                                                                80,000                                                                                                     6                                                                                                                                IFNg
Concentration (pg/ml)     0       14      41     123       370        1111    3333     10000                                                                                                                                                                                                                                                  120000                                                                                                                                                                                                                  8.16453404155959
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        9.7974408498715
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          11.7569290198458
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            14.108314823815
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              16.929977788578
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                20.3159733462935
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  24.3791680155523
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          50.5526427970492
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            60.663171356459
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        181.139259059645
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          217.367110871574
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    10000
                                                                                                   y = 22.633x + 604.71
                                                                                                                                                                                                                     Log(Signal-BKG)




Signal-BKG                0      1021    1606    2320     9682       27030    75584    113063              60,000                                                                                                                        4.5                                                                                                                                                                                                                                                                                                                        IFNg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1557.31991830001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1564.04269624778
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    113204.499374435
                                                                                                        R² = 0.9992
                                                                                                           Signal-BKG




                                                                                                                                                                                                                                                                                                                                               90000
                                                                                                                                                                                                                                                                                                                          Signal - BKG




Log (Concentration)              1.14    1.61    2.09      2.57       3.05     3.52     4.00                                    40,000                                                                                                     3
                                                                                                                                                                                                                                                                                                                                               60000
Log (Signal-BKG)                 3.01    3.21    3.37      3.99       4.43     4.88     5.05
                                                                                                                                20,000                                                                                                   1.5
                                                                                                                                                                                                                                                                                                                                               30000
                        Slope                            Intercept              N       R2
                                                                                                                                    0                                                                                                      0                                                                                                      0
Linear regression       22.87                              0.00                 6       1.00                                                 0           1,000           2,000           3,000   4,000                                             0              1                     2              3          4                                    1        10           100             1000   10000
                                                                                                                                                                 Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)
log-log regression       0.79                              1.96                 7       0.97
                        0.95     0.95    1.53    0.98     1.47        0.05     0.85     1.76




                TNFa             1.57    2.00    2.44      2.88       3.32     3.75     4.19                                                                            TNFa                                                                                                          TNFa                                                                                 TNFa
Concentration (pg/ml)     0       3       8       25        74        222      667     2000                                    16,000                                                                                                     5                                                                                                    16000                                                                                                                                                                                                                  1.63290680831192
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1.9594881699743
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1666.66666666667
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2000
                                                                                                    y = 7.7001x + 11.664
Signal-BKG                0      173     198     410       469       1672     4690     15570                                                                                                                                                                                                                                                                                                                                                                                                                                                                        TNFa
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      198.951033592224
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        200.25608253479
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          201.853221893311
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    15563.1053647995
                                                                                                                                                                                                             Log(Signal-BKG)




                                                                                                         R² 12,000
                                                                                                            = 0.9984                                                                                                                    3.75                                                                                                   12000
                                                                                                                                                                                                                                                                                                                               Signal - BKG
                                                                                                          Signal-BKG




Log (Concentration)              0.44    0.92    1.39      1.87       2.35     2.82     3.30                                    8,000                                                                                                    2.5                                                                                                    8000
Log (Signal-BKG)                 2.24    2.30    2.61      2.67       3.22     3.67     4.19
                                                                                                                                4,000                                                                                                   1.25                                                                                                    4000
                        Slope                            Intercept              N       R2
                                                                                                                                    0                                                                                                     0                                                                                                       0
Linear regression        7.71                              0.00                 7       1.00                                                 0            500            1,000           1,500   2,000                                             0              1                     2              3              4                                1        10           100             1000   10000
                                                                                                                                                                 Concentration (pg/ml)                                                                                    Log(Concentration) (pg/ml)                                                                 Concentration (pg/ml)
log-log regression       0.69                              1.70                 7       0.93
                        0.92     0.92    1.07    0.96     1.16        0.10     0.79     1.44




                                                  EXHIBIT-ELISA-IMMUNE-RAW-DATA                 Case No.: 22-CV-1159                                                     JAN 11, 2025
               Target              Uniprot                       GeneName               GeneID   Descrip on
               IL-1a               P01583                        IL1A IL1F1             3552     Interleukin-1 alpha (IL-1 alpha) (Hematopoie n-1)
               IL-1b               P01584                        IL1B IL1F2             3553     Interleukin-1 beta (IL-1 beta) (Catabolin)
               IL-4                P05112                        IL4                    3565     Interleukin-4 (IL-4) (B-cell s mulatory factor 1) (BSF-1) (Binetrakin) (Lymphocyte s mulatory factor 1) (Pitrakinra)
               IL-6                P05231                        IL6 IFNB2              3569     Interleukin-6 (IL-6) (B-cell s mulatory factor 2) (BSF-2) (CTL di eren a on factor) (CDF) (Hybridoma growth factor) (Interferon beta-2) (IFN-beta-2)
               IL-8                P10145                        CXCL8 IL8              3576     Interleukin-8 (IL-8) (C-X-C mo f chemokine 8) (Chemokine (C-X-C mo f) ligand 8) (Emoctakin) (Granulocyte chemotac c protein 1) (GCP-1) (Monocyte-derived neutrophil chemotac c factor) (MDNCF) (Monocyte-derived neutrophil-ac va ng pep de) (MONAP) (Neutrophil-ac va ng protein 1) (NAP-1) (Protein 3-10C) (T-cell chemotac c factor) [Cleaved into: MDNCF-a (GCP/IL-8 protein IV) (IL8/NAP1 form I); Interleukin-8 ((Ala-IL-8)77) (GCP/IL-8 protein II) (IL-8(1-77)) (IL8/NAP1 form II) (MDNCF-b); IL-8(5-77); IL-8(6-77) ((Ser-IL-8)72) (GCP/IL-8 protein I) (IL8/NAP1 form III) (Lymphocyte-derived neutrophil-ac va ng factor) (LYNAP) (MDNCF-c) (Neutrophil-ac va ng factor) (NAF); IL-8(7-77) (GCP/IL-8 protein V) (IL8/NAP1 form IV); IL-8(8-77) (GCP/IL-8 protein VI) (IL8/NAP1 form V); IL-8(9-77) (GCP/IL-8 protein
               IL-10               P22301                        IL10                   3586     Interleukin-10 (IL-10) (Cytokine synthesis inhibitory factor) (CSIF)
               IL-13               P35225                        IL13 NC30              3596     Interleukin-13 (IL-13)
               MCP-1               P13500                        CCL2 MCP1 SCYA2        6347     C-C mo f chemokine 2 (HC11) (Monocyte chemoa ractant protein 1) (Monocyte chemotac c and ac va ng factor) (MCAF) (Monocyte chemotac c protein 1) (MCP-1) (Monocyte secretory protein JE) (Small-inducible cytokine A2)
               IFNg                P01579                        IFNG                   3458     Interferon gamma (IFN-gamma) (Immune interferon)
               TNFa                P01375                        TNF TNFA TNFSF2        7124     Tumor necrosis factor (Cachec n) (TNF-alpha) (Tumor necrosis factor ligand superfamily member 2) (TNF-a) [Cleaved into: Tumor necrosis factor, membrane form (N-terminal fragment) (NTF); Intracellular domain 1 (ICD1); Intracellular domain 2 (ICD2); C-domain 1; C-domain 2; Tumor necrosis factor, soluble form]




                                                                                                                                EXHIBIT-ELISA-IMMUNE-RAW-DATA                                                      Case No.: 22-CV-1159                                       JAN 11, 2025
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                                                                Highest Reported   Lowest Reported                 % Above LOD but    % in Best   % Above
Target   LOD (pg/ml)     Best Confident Range   Maximum Value        Value             Value         % Below LOD       <3xLOD        Confidence   Maximum
IL-1a        4.0               12.0 - 667           2,000             49.5               8.3             0.0             25.0           75.0        0.0
IL-1b        2.3                7.0 - 667           2,000             18.9               4.3             0.0             25.0           75.0        0.0
  IL-4       0.7                 2.1 - 41            123               1.8               0.3            25.0             75.0            0.0        0.0
  IL-6       4.0               12.0 - 667           2,000             33.5               8.7             0.0             12.5           87.5        0.0
  IL-8       0.8                2.4 - 133            400               8.7               1.2             0.0             12.5           87.5        0.0
IL-10        0.2                0.5 - 370           1,111              0.5               0.0            75.0             12.5           12.5        0.0
IL-13        1.1                3.4 - 667           2,000              2.2               1.2             0.0            100.0            0.0        0.0
MCP-1        7.7               23.2 - 667           2,000             16.2               8.2             0.0            100.0            0.0        0.0
 IFNg        6.0              18.0 - 3,333         10,000             22.9               5.0            25.0             37.5           37.5        0.0
TNFa         4.0               12.0 - 667           2,000            109.6              23.0             0.0              0.0          100.0        0.0




                   EXHIBIT-ELISA-IMMUNE-RAW-DATA        Case No.: 22-CV-1159        JAN 11, 2025
                              1: Linear
                             2: Log-logit        0.0          Below LOD
                               3: Std3          1585.6        Above MAX
                               4: 4-PL
        (pg/ml)              4: Indiv_Nor Experimental Result - Dilution factor not accounted for
 8       LOD       MAX        Curve(s)         (pg/ml)           BETISD 1       BETISD 2      BETISD 3     BETISD 4   BETISD 5   BETISD 6   BETISD 7   BETISD 8
hINF1    4.0      2,000.0     1: Linear         IL-1a               21.4          49.5              8.3      33.1       11.8       36.3       15.9       28.0
hINF1    2.3      2,000.0      4: 4-PL          IL-1b               10.8          18.9              9.0      11.8       5.8        4.3        9.8        15.3
hINF1    0.7       123.5      1: Linear          IL-4               1.6            1.8              1.5      1.5        0.3        1.3        0.4        1.3
hINF1    4.0      2,000.0     1: Linear          IL-6               19.7          33.5          13.0         17.8       12.2       14.8       8.7        22.4
hINF1    0.8       400.0      1: Linear          IL-8               7.1            8.7              5.6      5.8        5.1        7.3        1.2        7.9
hINF1    0.2      1,111.1     1: Linear         IL-10               0.1            0.4              0.0      0.1        0.0        0.0        0.0        0.5
hINF1    1.1      2,000.0      4: 4-PL          IL-13               1.9            2.2              1.5      1.5        1.2        1.7        1.2        1.6
hINF1    7.7      2,000.0      4: 4-PL          MCP-1               13.0          16.2              8.6      8.7        8.7        9.6        8.2        12.9
hINF1    6.0      10,000.0    1: Linear         IFNg                22.9          20.1          12.3         6.7        5.0        14.0       6.0        22.4
hINF1    4.0      2,000.0     1: Linear         TNFa                37.2          109.6         25.2         38.6       23.0       51.2       48.7       71.1




                                             EXHIBIT-ELISA-IMMUNE-RAW-DATA          Case No.: 22-CV-1159      JAN 11, 2025
